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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA

LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                                   CIVIL ACTION FILE
                              Plaintiff,
vs.                                                NO.:_________________

E.S. REAL ESTATE CONSORTIUM,
CORP., a Georgia corporation;
CONSORTIUM TITLE, LLC, a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES, LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON, an
individual; and COLEEN THOMAS; an
individual,

                              Defendants.


                                       COMPLAINT

        Plaintiff, Lima One Capital Special Servicing, Inc. (“Plaintiff”), states as

follows for its Complaint:

        1.       Plaintiff is a Delaware corporation with its principal place of business

located in Greenville, South Carolina.          Therefore, for purposes of diversity,

Plaintiff is a citizen of Delaware and South Carolina.




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        2.       E.S. Real Estate Consortium, Corp. (“E.S. Real Estate”) is a Georgia

corporation that has its principal place of business at 5317 Peachtree Boulevard,

Suite 316, Chamblee, Georgia 30341. Therefore, for purposes of diversity, E.S.

Real Estate is a citizen of Georgia.

        3.       Coleen Thomas (“Thomas”) is an individual who upon information

and belief is domiciled in Virginia. Therefore, for purposes of diversity, Thomas is

a citizen of Virginia.

        4.       Consortium Title, LLC (“Consortium”) is a Virginia limited liability

company, which upon information and belief has one member, Coleen Thomas.

Therefore, for purposes of diversity, Consortium is a citizen of Virginia as Thomas

is domiciled there.

        5.       Integrity Settlement Services, LLC (“Integrity”) is a Florida limited

liability company, which, upon information and belief, has one member,

Consortium, which has one member, Thomas, as discussed above. Therefore, for

purposes of diversity, Integrity is a citizen of Virginia.

        6.       Aneaka English (“English”) is an individual who upon information

and belief is domiciled in Georgia. Therefore, for purposes of diversity, English is

a citizen of Georgia.




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        7.       Casita Simpson (“Simpson”) is an individual who upon information

and belief is domiciled in Florida. Therefore, for purposes of diversity, Simpson is

a citizen of Florida.

                            JURISDICTION AND VENUE

        8.       Jurisdiction over this matter properly rests within this Honorable

Court pursuant to 28 UCS §1331 and/or §1332. The complaint includes a federal

question, specifically Plaintiff’s claim that the Defendants violated the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), as described below. Further,

the amount in controversy is in excess of Seventy-Five Thousand ($75,000.00)

Dollars, exclusive of interest and costs and none of the Defendants is a citizen of

Delaware or South Carolina while Plaintiff is a citizen of Delaware and South

Carolina, which means there is complete diversity amongst the parties.

        9.       Venue is proper in this Honorable Court pursuant to 28 USC §1391(a)

and (b)(3).

                             GENERAL ALLEGATIONS

        10.      Lima One Capital, LLC (“Lima One”) is in the business of lending

funds for short term real estate transactions, among other businesses.




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        11.      In December 2017, English, on behalf of E.S. Real Estate, requested

funding related to the closing of real property commonly known as 1564 Park

Road SE, Atlanta, GA 30315 (the “Property”).

        12.      English, on her own or as an agent of E.S. Real Estate, provided Lima

One with a Purchase Sale Agreement dated October 15, 2017 between Ruth

Fermino and Wholesale Listings Co Ltd (the “Borrower”). Exhibit A.

        13.      English stated that she represented the Borrower.

        14.      English, on her own or as an agent of E.S. Real Estate, sent Lima One

a HUD Statement allegedly showing how funds would be disbursed after the

Borrower purchased the Property. Exhibit B.

        15.      English told Lima One that the Borrower intended to immediately sell

the Property to ESRG Georgia Group I (“ESRG”) on the same date the Borrower

purchased it.

        16.      English, on her own or as an agent of E.S. Real Estate, sent Lima One

a HUD Statement allegedly showing the Borrower selling the Property to ESRG

and repaying Lima One the total amount it was owed of $255,774.57. Exhibit C.

        17.      The Borrower chose Integrity as its title company to close the real

estate transactions.




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        18.      Integrity provided a Certificate of Liability Insurance regarding its

errors and omissions policy prior to closing.

        19.      Lima One does not close these types of transactions or wire funds to

the title company until it receives confirmation that the second purchaser’s funds

are received by the title company and are being held in escrow.

        20.      Thomas sent an e-mail to Lima One on January 4, 2018 confirming

Integrity was in receipt of the funds from ESRG to purchase the Property from the

Borrower.

        21.      On January 8, 2018, Lima One wired $251,375.50 to Integrity through

a JPMorgan Chase account to fund the Borrower’s purchase of the Property.

        22.      Pursuant to its agreement with English and E.S. Real Estate, Lima

One was to receive $255,774.57 within 24 hours of the initial wire transfer.

        23.      English refused to pay Lima One what it was owed under the

agreement, instead feigning ignorance.

        24.      Lima One attempted to file a claim against Integrity’s alleged errors

and omissions insurance, but no policy exists.

        25.      On or about March 7, 2018, English mailed a check to Lima One

through the United States Postal Service.




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        26.      English held the check out to be payment in full of the amounts owed

to Lima One.

        27.      The check was returned to Lima One’s bank due to insufficient funds

in the drawer’s account.

        28.      On March 21, 2018, English wired the sum of $51,370.00 to Lima

One claiming once she received confirmation of those funds being received that

she would pay the remainder through a second wire transaction.

        29.      On May 7, 2018, English wired the sum of $50,000.00 to Lima One as

partial payment on the amount outstanding.

        30.      Lima One has not received the balance of the outstanding obligation.

        31.      Lima One assigned its rights to any cause of action arising from this

transaction to Plaintiff in an Assignment dated August 21, 2018 and attached

hereto as Exhibit D.

                 COUNT I – FRAUDULENT MISREPRESENTATION

        32.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        33.      As    described    above,    English    made     numerous     fraudulent

misrepresentations to Lima One.

        34.      English claimed that she represented the Borrower.


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        35.      English claimed the Borrower was going to purchase the Property and

then immediately sell it to ESRG.

        36.      English claimed that Simpson would execute documents on behalf of

the Borrower to close the transaction.

        37.      English’s claims were false because the Borrower was a sham

company set up by Simpson.

        38.      Upon information and belief, Simpson is a paralegal employed by

English.

        39.       English knew that her representations were false at the time they were

made.

        40.      English made these misrepresentations intending that Lima One rely

on them.

        41.      Lima One reasonably relied on these misrepresentations.

        42.      In reliance upon the misrepresentations, Lima One has suffered

damages of not less than $152,404.57 plus attorney fees and costs.

        43.      Thomas falsely claimed that Integrity was in possession of the ESRG

funds necessary to repay Lima One.

        44.      Thomas falsely claimed that Integrity had insurance to cover such

losses.


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        45.      Thomas knew when she made the claims that they were false.

        46.      Thomas made the misrepresentations intending that Lima One would

rely on them.

        47.      Lima One did in fact rely on the misrepresentations when it wired the

funds to Integrity.

        48.      Due to Thomas’ misrepresentations, Lima One has suffered damages

of not less than $152,404.57 plus attorney fees and costs.

        WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.

                      COUNT II – CONSPIRACY TO COMMIT FRAUD

        49.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        50.      As described above, the Defendants have perpetrated a fraud against

Lima One.




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        51.      The Defendants’ individual actions, working in concert, created a plan

to defraud Lima One.

        52.      English represented to Lima One that she had a purchaser for the

Property who would then immediately sell the property to a third party.

        53.      Simpson represented herself as the Borrower’s authorized agent who

was going to purchase the Property.

        54.      Thomas served as the conduit to obtain the funds by misrepresenting

to Lima One that Integrity was in possession of ESRG’s funds to purchase the

Property and repay Lima One.

        55.      Through these actions and those previously discussed above, the

Defendants acted in concert to defraud Lima One.

        56.      The Defendants stole $255,774.57 from Lima One through the

conspiracy.

        WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.


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                        COUNT III – UNJUST ENRICHMENT

        57.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        58.      As described above, Lima One wired $251,375.50 to Integrity in

relation to the fraudulent closing.

        59.      Lima One expected payment in return of $255,774.57 based on the

parties’ agreement.

        60.      E.S. Real Estate, Consortium, Integrity, English, Simpson and

Thomas have received an unjust benefit at the expense of Lima One based on their

conduct.

        61.      It would be unjust for the Defendants to retain the benefit.

        WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court enter a judgment in its favor and

against Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC,

Integrity Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita

Simpson, jointly and severally, in the amount of $152,404.57 plus attorney fees

and costs that continue to accrue.




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            COUNT IV – CIVIL RICO PURSUANT TO 18 U.S.C. § 1964

        62.      Plaintiff incorporates the allegations set forth above by reference, with

the same force and effect as if fully repeated.

        63.      Defendants by virtue of their agency relationships with each other

formed an enterprise (the “Enterprise”).

        64.      Through the Enterprise, Defendants engaged in racketeering activity

to wit wire fraud in violation of 18 U.S.C. § 1343 and mail fraud in violation of 18

U.S.C. § 1341.

        65.      Violations of 18 U.S.C. § 1341 and 1343 are each a “racketeering

activity” as that term is defined in 18 U.S.C. § 1961(1).

        66.      The Defendants received an economic benefit through the Enterprise.

        67.      The conduct alleged in this complaint constitutes a “pattern of

racketeering activity,” as that term is defined in 18 U.S.C. § 1961(5) as Lima One

has alleged two acts that constitute racketeering activity, specifically violations of

18 U.S.C. § 1341 and § 1343, that occurred after the enactment of the RICO Act

and these activities occurred within the last 10 years.

        68.      English has committed mail and/or wire fraud on at least two previous

occasions against two other victims, and there is a serious threat that she will

continue her criminal conduct beyond the instances in this complaint.


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        69.      Simpson and Thomas aided and abetted English in engaging in

racketeering behavior by setting up sham companies, drafting fake closing

documents for the sale of the Property, and misrepresenting that they were ready,

willing and able to fund the sale as agreed.

        70.      The Enterprise will continue to operate and defraud consumers and

businesses alike through an ongoing Ponzi scheme if not stopped by the Court.

        71.      As a direct and proximate cause of Defendants’ racketeering

activities, Plaintiff has suffered economic damages and it requests treble damages

and reasonable attorney fees pursuant to 18 U.S.C. § 1964(c).

        WHEREFORE, Lima One Capital Special Servicing, Inc. respectfully

requests that this Honorable Court enter a judgment in its favor and against

Defendants E.S. Real Estate Consortium, Corp., Consortium Title, LLC, Integrity

Settlement Solutions, LLC, Aneaka English, Coleen Thomas, and Casita Simpson,

jointly and severally, in the amount of $463,213.71 plus attorney fees and costs

that continue to accrue.

        Respectfully submitted this 28th day of August, 2018.



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                             [Signature on following page]


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